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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

NOKIA TECHNOLOGIES OY,

               Plaintiff,
       v.                                               C.A. No. 23-cv-1237-GBW

HP, INC.,

               Defendant.

                            STIPULATION EXTENDING DEADLINE

        The parties, subject to the Court’s approval, hereby agree that the deadline for Plaintiff

Nokia Technologies Oy to respond to Defendant/Counterclaim Plaintiff HP Inc.’s Original

Answer to Plaintiff’s Original Complaint, and Original Counterclaims (D.I. 11) is extended to

February 1, 2024.

Dated: December 14, 2023                            Respectfully submitted,

FARNAN LLP                                          MORGAN, LEWIS & BOCKIUS LLP

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IT IS SO ORDERED this ______ day of December, 2023.

                                      __________________________________
                                      The Honorable Gregory B. Williams
